     Case: 1:15-cv-10546 Document #: 48 Filed: 10/25/16 Page 1 of 1 PageID #:359

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Rosa Ceja
                                        Plaintiff,
v.                                                         Case No.: 1:15−cv−10546
                                                           Honorable Manish S. Shah
Personnel Staffing Group, LLC
                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, October 25, 2016:


        MINUTE entry before the Honorable Manish S. Shah: The parties report they have
reached a settlement agreement. At their request, all deadlines are stayed. Status hearing is
advanced to 11/18/16 at 9:30 a.m., by which time the parties anticipate having a
stipulation of dismissal on file. If the stipulation is filed in advance of that date, then no
appearance is necessary. Notices mailed by Judicial Staff. (psm, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
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